                 Case 3:20-cv-08570-JD Document 93-1 Filed 05/07/21 Page 1 of 5




 1   SONAL N. MEHTA (CA Bar No. 222086)
      Sonal.Mehta@wilmerhale.com
 2   WILMER CUTLER PICKERING
       HALE AND DORR LLP
 3
     2600 El Camino Real, Suite 400
 4   Palo Alto, California 94306
     Telephone: (650) 858-6000
 5   Facsimile: (650) 858-6100
 6   DAVID Z. GRINGER (pro hac vice)
      David.Gringer@wilmerhale.com
 7
     WILMER CUTLER PICKERING
 8     HALE AND DORR LLP
     1875 Pennsylvania Avenue, NW
 9   Washington, D.C. 20006
     Telephone: (202) 663-6000
10   Facsimile: (202) 663-6363
11
     Attorneys for Defendant
12   FACEBOOK, INC.

13

14                                 UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN JOSE DIVISION

17
     MAXIMILIAN KLEIN, SARAH                    Case No. 5:20-cv-08570-LHK
18   GRABERT, AND RACHEL BANKS
     KUPCHO, on behalf of themselves and all
19   those similarly situated,                  DECLARATION OF AARON M. PANNER
                                                IN SUPPORT OF FACEBOOK’S MOTION
20                   Plaintiffs,                TO DISQUALIFY KELLER LENKNER LLC
21                                              Date:    September 30, 2021
            v.
22                                              Time:    1:30 p.m.
     FACEBOOK, INC.,                            Ctrm:    8
23                                              Judge:   Hon. Lucy H. Koh
                     Defendant.
24

25

26

27

28

                                                 1                  DECLARATION OF AARON PANNER
              Case 3:20-cv-08570-JD Document 93-1 Filed 05/07/21 Page 2 of 5




 1                            DECLARATION OF AARON M. PANNER

 2   I, Aaron M. Panner, declare as follows:

 3   1.     I am a partner at Kellogg, Hansen, Todd, Figel & Frederick (“Kellogg Hansen”). I have

 4          personal knowledge of the matters stated herein and, if called upon, I could and would

 5          competently testify thereto.

 6   2.     Facebook engaged Kellogg Hansen in October 2019, to represent the company in

 7          connection with antitrust investigations launched by the Federal Trade Commission and a

 8          group of State Attorneys General. Both investigations were underway prior to our retention

 9          in the matter. Kellogg Hansen’s role was to assist in representation of the company during

10          the investigations, to assist in advocacy before the enforcement agencies, and to serve as

11          lead counsel in possible litigation against the FTC and State Attorneys General. The FTC

12          and a group of State Attorneys General brought separate antitrust actions against Facebook

13          in December 2020; Kellogg Hansen represents Facebook as lead counsel in both actions.

14   3.     I am one of the attorneys on the Kellogg Hansen team representing Facebook in the above-

15          referenced government antitrust litigation. I have represented Facebook in connection with

16          various matters since 2012 and have been actively involved in Kellogg Hansen’s

17          representation of Facebook since the firm was retained in connection with the

18          investigations that preceded the filing of the complaints.

19   4.     While representing Facebook in these matters, I supervised then-Kellogg Hansen associate

20          Albert Pak. Mr. Pak was a valued member of the Facebook team and did excellent work

21          on the Facebook matter, as well as other matters in which I was involved, during his time

22          at Kellogg Hansen. Mr. Pak directly assisted me in connection with various matters

23          connected to the government antitrust investigations and preparation for possible litigation;

24          I had dozens of conversations with him about pending projects and legal and factual issues

25          in the investigations and that would likely arise in the event of litigation. In connection

26          with the preparation of this declaration, I have reviewed Mr. Pak’s time entries to refresh

27          my recollection concerning his work with me and the scope of his work in the matter

28          overall.   My review of those records confirmed my recollection that Mr. Pak was

                                                      2                    DECLARATION OF AARON PANNER
            Case 3:20-cv-08570-JD Document 93-1 Filed 05/07/21 Page 3 of 5




 1        significantly involved in our work for Facebook in both the investigations and in

 2        preparation for litigation.

 3   5.   Starting in December 2019 until immediately before he left the firm in late June 2020, Mr.

 4        Pak was heavily involved in Kellogg Hansen’s work on the government antitrust

 5        investigations and in preparing for the possible litigation. He attended team meetings in

 6        which Facebook’s legal strategy was discussed; reviewed memoranda that discussed

 7        Facebook’s legal strategy; wrote legal memoranda concerning issues of potential relevance

 8        to Facebook’s defense; participated in fact-gathering for witness interviews of witnesses

 9        who were deposed during the government investigation; did substantial work with

10        consulting and potential testifying experts on issues likely to be significant in the litigation;

11        analyzed and reviewed Facebook’s document productions; and helped Facebook respond

12        to one of the FTC’s civil investigative demands.

13   6.   Of particular significance, Mr. Pak was assigned to help me lead our work with consulting

14        and potential testifying experts. In that capacity, Mr. Pak was privy to all of the expert

15        teams’ pending projects and discussions among counsel and expert teams regarding

16        defense strategy.

17   7.   Through this work, Mr. Pak was privy to Facebook’s confidential and privileged

18        information and also Facebook’s strategy in the event of litigation. He participated in many

19        meetings in which Facebook’s in-house counsel participated and interacted with those

20        lawyers directly. A substantial portion of his work consisted of analyzing Facebook’s

21        sensitive information to assist Facebook in responding to the government investigations

22        and preparing for subsequent litigation.       In addition, it is the culture of our firm to be

23        inclusive and to provide significant leadership opportunities to younger attorneys;

24        consistent with those commitments, we widely shared information and strategic

25        considerations with all lawyers who were working on the investigations and preparing for

26        potential litigation, including Mr. Pak. For example, my partner, Mark Hansen, who is

27        lead counsel for Facebook in the litigation against the FTC and state Attorneys General,

28        sent emails to a mailing list that included Mr. Pak on a daily basis in which he shared his

                                                     3                      DECLARATION OF AARON PANNER
              Case 3:20-cv-08570-JD Document 93-1 Filed 05/07/21 Page 4 of 5




 1          thinking on legal and trial strategy and forwarded documents and analysis from the client

 2          and counsel at other firms assisting Facebook on the investigations and potential litigation.

 3   8.     Mr. Pak billed 824.5 hours between December 11, 2019, and June 24, 2020, working on

 4          the government antitrust investigations of Facebook. This was approximately three-

 5          quarters of the time he billed during this period of his employment at the firm.

 6   9.     In late June 2020, Mr. Pak informed Kellogg Hansen that he would be leaving the firm and

 7          joining Keller Lenkner LLC. Mr. Pak’s last day at Kellogg Hansen was June 26, 2020.

 8   10.    At the time Mr. Pak left Kellogg Hansen, I was unaware that Keller Lenkner was

 9          conducting any antitrust investigation of or contemplating any litigation against Facebook.

10          To my knowledge, Kellogg Hansen did not receive any notification from Keller Lenkner

11          concerning the conflict of interest created by Keller Lenkner’s employment of Mr. Pak,

12          nor did it receive any notification from Keller Lenkner regarding what screening

13          procedures (if any) Keller Lenkner employed to protect Facebook’s privileged and

14          confidential information.

15

16   I declare under penalty of perjury that the foregoing is true and correct. Executed on this 7th day

17   of May 2021 in Bethesda, MD.

18

19                                                By:     /s/Aaron M. Panner
                                                          Aaron M. Panner
20

21

22

23

24

25

26

27

28

                                                      4                    DECLARATION OF AARON PANNER
                 Case 3:20-cv-08570-JD Document 93-1 Filed 05/07/21 Page 5 of 5




 1                                     SIGNATURE ATTESTATION

 2             I am the ECF User whose identification and password are being used to file the foregoing.

 3   Pursuant to Civil Local Rule 5-1(i), I hereby attest that the other signatories have concurred in this

 4   filing.

 5

 6   Dated: May 7, 2021                             By:    /s/Sonal N. Mehta
                                                           Sonal N. Mehta
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       5                     DECLARATION OF AARON PANNER
